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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                        Case No. 18-20533
v.                                                District Judge Victoria A. Roberts
                                                  Magistrate Judge Mona K. Majzoub

MICHAEL HINDS,

           Defendant.
_________________________/
 ORDER SUSTAINING THE GOVERNMENT’S OBJECTIONS IN PART; REJECTING
 THE MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION; AND DENYING
                 DEFENDANT’S MOTION TO SUPPRESS
     I.      INTRODUCTION AND FACTUAL BACKGROUND
          Around midnight on November 23, 2017, two Detroit Police Department officers

drove a marked police vehicle and observed a minivan parked in front of a vacant house.

Officers noted the minivan appeared to be filled with smoke. Officers suspected marijuana

use. They stopped the patrol car alongside the minivan and asked whether the occupants

were “smoking it up” and whether they had “mags.” The occupants told the officers they

were smoking cigarettes and denied having “mags.”

          The officers exited their patrol car to conduct an “informational encounter.” One

officer approached the driver’s window and the other approached the passenger side.

Defendant Michael Hinds sat in the front passenger seat. Officers concluded the

occupants were only smoking tobacco products, but simultaneously observed Hinds

rolling a marijuana blunt. Officers also saw vials “commonly used for packaging

marijuana” in the center console. Hinds told the officers he had a marijuana card, but the




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officers said even with the card, he was transporting marijuana illegally. Hinds attempted

to produce his medical marijuana card several times but was stopped by officers.

          The officers then detained the occupants and searched the minivan. They

uncovered a bag containing various types of drugs and a handgun. They seized the gun

and drugs and referred the case for federal prosecution. The seized evidence forms the

basis of the federal charges against Hinds.

          Hinds faces one Count of Possession with Intent to Distribute a Controlled

Substance – Cocaine Base in violation of 21 U.S.C. § 841(a)(1); one Count of Felon in

Possession of a Firearm in violation of 18 U.S.C. § 922(g)(1); and one Count of

Possession of a Firearm in Furtherance of a Drug Trafficking Crime in violation of 18

U.S.C. § 924(c).

          Hinds filed a Motion to Suppress Evidence. He claims his status as a medical

marijuana cardholder under the Michigan Medical Marihuana 1 Act (“MMMA”) protected

him against the seizure which led to his federal prosecution.

          The Court REJECTS the Report and Recommendation filed by the Magistrate

Judge to whom the Motion to Suppress was assigned. The Court ACCEPTS the

Government’s objections in part and DENIES Hinds’ Motion to Suppress.

    II.      DISCUSSION
    This Court is required to make a de novo determination of those portions of a Report

and Recommendation to which specific objections have been made, and may accept,




1
 The MMMA uses the original “marihuana” spelling; this opinion will use the common
“marijuana” spelling.
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reject, or modify any or all of the Magistrate Judge’s findings or recommendations. 28

U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(3).

          a. The Government’s Second Objection Is Sustained – The MMMA Does
             Not Create an Exception to the Probable Cause Standard Under the
             Fourth Amendment.
       The Government says the Magistrate Judge erred in her conclusion that Hinds’

status as a medical marijuana patient creates an exception to the well-established rule: a

police officer who sees marijuana in a car has probable cause to search the vehicle. See

Carter v. Parris, 910 F.3d 835, 839 (6th Cir. 2018); U.S. v. McGhee, 672 F.Supp.2d 804,

812 (S.D. Ohio, 2009). The Government says that while the MMMA creates limited

immunity from arrest, prosecution, or penalty under Michigan law for a qualifying patient

who is in full compliance, the statute is silent on whether probable cause can exist to

search vehicles when potential violations of federal law may be presented. The Court

agrees.

       Police officers found Hinds in a car filled with smoke late at night. Circumstances

were such that further investigation was reasonable. Hinds offered to produce his medical

marijuana identification card. Police officers declined his offer and in the course of their

investigation saw that Hinds was not only rolling a joint, but also had what appeared to

be several vials of marijuana readily accessible in the front console. Police officers

conducted a search of his automobile based on these observations.

       Hinds relies heavily on People v. Latz, 318 Mich. App. 380 (2016), to argue that a

violation of the MMMA is a civil infraction rather than an arrestable offense, and it cannot

form the basis for probable cause. Latz, however, is distinguishable.




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      At the time of Latz’s arrest, the MMMA was silent on how a qualified patient is to

transport loose marijuana in a vehicle; it continues to be silent and the statute only

addresses the transportation of marijuana infused products. See MCL § 333.26424b(2)

(qualifying patients are not prohibited from transporting or possessing marihuana-infused

product in or upon a motor vehicle in a sealed or labeled package not readily accessible

from the interior of the vehicle) (emphasis added).

      The Latz court held Michigan’s illegal transportation of marijuana statute, MCL §

700.474, conflicted with the MMMA because the transportation statute subjected

individuals to prosecution despite their compliance with the MMMA. 318 Mich. App. at

387. Consequently, according to Latz, persons in compliance with the MMMA cannot be

prosecuted for violating MCL § 700.474. The Latz court presumed the defendant was in

compliance with the MMMA. Id. at 385.

      Had Hinds been arrested, prosecuted, and/or punished for the illegal transport of

marijuana under the MMMA, Latz would be applicable. However, whether probable cause

exists to search and arrest under the Fourth Amendment is a separate inquiry.

Regardless of whether a person was allowed under state law to the medical use of

marijuana, at the time of Hinds’ search, federal and Michigan state law prohibited smoking

marijuana in any public place. MCL 333.26427(b); People v. Anthony, No. 337793, 2019

WL 290026 (Mich. App. Jan. 22, 2019); People v. Brown, 297 Mich. App. 670 (2012);

People v. Johnson, No. 329742, 2018 WL 4577295 (Mich. App. Sept. 13, 2018). Whether

Hinds was in compliance with the MMMA or not has no bearing on whether probable

cause to execute the search existed under the Fourth Amendment.




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       Importantly, the MMMA does not address, nor prohibit, searches of spaces for

marijuana. MCL § 333.26424. The court in Johnson v. Williams, No. 14-cv-12790, 2016

WL 1425706, at *2 (E.D. Mich. Apr. 12, 2016) (Levy, J.), dismissed the argument that the

MMMA protected against a warrantless search of a hotel room following the identification

of strong marijuana smells “because the protections of the MMMA do not extend so far

as to completely decriminalize the possession and use of marijuana in Michigan, or

prohibit searches when a valid MMMA card is a potential defense to arrest or other

punishment.” Id. at *2.

       The Court finds the MMMA: (1) only protects patients who comply with it; (2) only

protects patients as outlined in the statute; and (3) is silent on whether the statute provides

protection from: (a) determinations of probable cause, (b) searches of automobiles under

exigent circumstances, and (c) violation of federal laws.

       The Government’s second objection is sustained.

          b. The Government’s Standing Objection is Rejected for Failure to
             Raise the Issue Before the Magistrate Judge
       The Government says the Magistrate Judge erred in assuming Hinds possessed

a legitimate expectation of privacy in his mother’s rental van such that he could challenge

the search under the Fourth Amendment.

       The Court declines to analyze this issue on the merits. The Federal Magistrates

Act, 28 U.S.C. § 631 et seq, permits de novo review by the district court for timely raised

objections. It does not permit parties to raise new arguments or issues that were not

presented to the magistrate judge.

       The Sixth Circuit held failure to assert a claim before the magistrate judge is an

“apparent waiver.” United States v. Waters, 158 F.3d 933, 936 (6th Cir. 1998). See also

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Murr v. United States, 200 F.3d 895, 902 n.1; Childress v. Michalke, 2014 WL 3819347,

at *3 (E.D. Mich. Aug. 4, 2014) (J. Goldsmith).

          The Government waived its standing argument by not raising it before the

Magistrate Judge, and its objection is rejected.

             c. The Government’s Remaining Objections Are Moot
          The Government objects to the Magistrate Judge’s finding that: (1) there would be

no undue investigative burdens placed on officers if the search was found to be

unreasonable; and (2) Hinds presented clear and uncontroverted evidence of MMMA

compliance. The Government also says the Magistrate Judge failed to consider the good-

faith exception to the exclusionary rule, which limits suppression to circumstances in

which the benefits of police deterrence outweigh the cost of excluding illegally seized

evidence. United States v. Leon, 468 U.S. 897 (1984); see also U.S. v. Buford, 632 F.3d

264, 276-77 (6th Cir. 2011).

          In light of the Court’s finding that the MMMA does not create an exception to the

probable cause standard under the Fourth Amendment, the Court need not address these

objections.

   III.      CONCLUSION
          The Court REJECTS the Report and Recommendation. The Court ACCEPTS the

Government’s objections in part and DENIES Hinds’ Motion to Suppress.

          IT IS ORDERED.
                                                   s/ Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge
Dated: April 30, 2019




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